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UUM Melee Lereli me (eli km dal Mer: t-1-e

United States Bankruptcy Court for the:

District of Delaware
(State)
Case number (if known): Chapter 11 O Check if this is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

4. Debtor’s name PARTS iD, Inc.

2. Allother names debtor used Onyx Enterprises Int'l, Inc.

in the last 8 years Legacy Acquisition Corp.

Include any assumed names,

trade names, and doing business
as names

3. Debtor’s federal Employer 8 1 3.6 7 48 6 8
Identification Number (EIN) TOT

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

1 Corporate Drive

Number Street Number Street
Suite C
P.O. Box
Cranbury Nd 08513
City State ZIP Code City state ZIP Code

Location of principal assets, if different from
principal place of business

Middlesex
County
Number Street
City State ZIP Code
5. Debtor’s website (URL) https://www.partsidinc.com/

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Debtor PARTS iD, Inc.

Case number (# known)

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor") must
check the second sub-box.

Official Form 201

id Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
(J Partnership (excluding LLP)
L) Other. Specify:

A. Check one:

(J Health Care Business (as defined in 11 U.S.C. § 101(27A))
(J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CQ) Railroad (as defined in 11 U.S.C. § 101(44))

LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C. § 101(6))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

(J None of the above

B. Check ail that apply:

O Tax-exempt entity (as described in 26 U.S.C. § 501)

LJ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CJ Investment advisor (as defined in 15 U.S.C. § 80b-2(a}(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes .

4413

Check one:

L) Chapter 7
LJ Chapter 9
“i Chapter 11. Check all that apply:

LJ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Wa plan is being filed with this petition.

Gd Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

Wd The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

(J The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

L) Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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pebtor PARTS iD, Inc.

Name

Case number (# known)

9. Were prior bankruptcy cases (4 No
filed by or against the debtor
within the last 8 years? C) Yes. District When Case number
MM / DD / YYYY

lf more than 2 cases, attach a a
separate list. District When Case number

MM/ DD/YYYY

10. Are any bankruptcy cases CL] No
ending or being filed by a ; va:
peainess sertner oran y i Yes. Debtor PARTS iD, LLC Relationship Subsidiary
affiliate of the debtor? District Delaware When 12/26/2023
List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

11. Why is the case filed in this Check all that apply:

district? ve a _ i tices
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Wa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own orhave (4 No
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Check ail that apply.)
attention?

CQ) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

UI It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety,

What is the hazard?

C) It needs to be physically secured or protected from the weather.

UI Itincludes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

Q) other

Where is the property?

Number Street

City State ZIP Code

Is the property insured?
CI No

Q) Yes. insurance agency

Contact name

Phone

ma Statistical and administrative information

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Debtor PARTS iD, Inc.

Name

Case number (# known)

13. Debtor’s estimation of Check one:

available funds

id Funds will be available for distribution to unsecured creditors.

QD After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

L) 1-49

LJ 50-99
CJ 100-199
CL) 200-999

14. Estimated number of
creditors

C) $0-$50,000

LJ $50,001-$100,000
LJ $100,001-$500,000
LJ $500,001-$1 million

15. Estimated assets

L) $0-$50,000

LJ $50,001-$100,000
CJ $100,001-$500,000
CJ $500,001-$1 million

a Request for Relief, Declaration, and Signatures

16. Estimated liabilities

4 1,000-5,000
CI 5,001-10,000
CI 10,001-25,000

LI $1,000,001-$10 million

#4 $10,000,001-$50 million
CI $50,000,001-$100 million
LI $100,000,001-$500 million

LI $1,000,001-$10 million

(J $10,000,001-$50 million
©] $50,000,001-$100 million
CJ $100,000,001-$500 million

L) 25,001-50,000
L) 50,001-100,000
L) More than 100,000

LJ $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
LJ More than $50 billion

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
L) More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

12/26/2023

Executed on

MM / DD /YYYY

X /s/ Lev Peker

Lev Peker

Signature of authorized representative of debtor

Chief Executive Officer

Title

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Printed name

page 4
PARTS iD, Inc.

Debtor

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Name

18. Signature of attorney

Official Form 201

Signature of attorney for debtor

R. Craig Martin

Case number (# known)

X /s/ R. Craig Martin Date

12/26/2023

MM /DD /YYYY

Printed name

DLA Piper LLP (US)

Firm name

1201 North Market Street

Number Street
Wilmington

DE 19801

City
(302) 468 -5700

Contact phone

5032

State ZIP Code

craig.martin@us.dlapiper.com

Email address

DE

Bar number

Voluntary Petition for Non-Individuals Filing for Bankruptcy

State

page 5
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Official Form 201A (12/15)

Debtor: PARTS iD, Inc. Case Number (if known):

Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is__8 1-36 74868

2. The following financial data is the latest available information and refers to the debtor's condition
on September 30, 2023

a. Total assets $18,697,244

b. Total debts (including debts listed in 2.c. below) $55,026,246

c. Debt securities held by more than 500 holders
Approximate
number of

holders:

secured ___ unsecured ___ subordinated ___ $

secured ___ unsecured ___ subordinated ___ $

secured ___ unsecured ___ subordinated ___ $

secured ___ unsecured ___ subordinated ___ $

secured ___ unsecured ___ subordinated ___ $

d. Number of shares of preferred stock (inclusive of Series B, C and D) 0

e. Number of shares of common stock 42,932,553

Comments, if any: Total assets and total debts listed above are in accordance with the Debtor’s
unaudited financial statements as of September 30, 2023, as set forth in the Debtor’s Form 10-Q filed on
December 8, 2023. The Debtor’s Form 10-Q lists the consolidated total assets and total liabilities of the

Debtor and its Debtor subsidiary with all intercompany transactions eliminated in consolidation. To the
Debtor’s knowledge, the shares of stock listed above are those outstanding as of November 27, 2023.

3. Brief description of debtor's business: Digital commerce platform for aftermarket automotive parts.

4. List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor:
Onyx Enterprises Canada Inc., Stanislav Royzenshteyn, and Cede & Co.

Official Form 201A Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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AUTHORIZED OFFICER’S CERTIFICATE
December 26, 2023

This Authorized Officer’s Certificate (this “Certificate”) is furnished in connection with
those certain chapter 11 petitions filed on December 26, 2023 (as amended, modified or
supplemented from time to time, the “Petitions”), by PARTS iD, Inc., a Delaware corporation, and
PARTS iD, LLC, a Delaware limited liability company (each the “Company”).

The undersigned, being an Authorized Officer of each Company, hereby certifies, solely
in his capacity as such and not in his individual capacity and without personal liability, that
attached hereto is a true, correct and complete copy of the resolutions duly adopted by the board
of directors or member, as applicable of each Company (as such term is defined therein) on the
date hereof, in accordance with bylaws, or operating agreement, as applicable, of such Company
and the requirements of applicable law, and such resolutions have not been modified, rescinded or
amended and are in full force and effect as of the date of this Certificate.

IN WITNESS WHEREOF, the undersigned has duly executed and delivered this
Certificate as of the date first written above.

By: /S/ Lev Peker

Name: Lev Peker
Title: Chief Executive Officer

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RESOLUTIONS
OF

THE BOARD OF DIRECTORS OF
PARTS iD, INC.

AND

THE SOLE MEMBER OF
PARTS iD, LLC

December 19, 2023

Financing

WHEREAS, (i) all of the members of the Board of Directors (the “Board”) of PARTS 1D, Inc., a
Delaware corporation (“PARTS Inc.”) and (ii) the sole member (the “Member”, and together with the
Board, the “Governing Bodies”, and each individually a “Governing Body”) of PARTS iD, LLC, a
Delaware limited liability company (“PARTS LLC”, and together with PARTS Inc., the “Companies”, and
each individually a “Company”)have determined that it is advisable and in the best interests of the
Companies to enter into that certain (i) Credit Agreement, to be dated on or about December __, 2023, by
and among, among others, Fifth Star, as New Money DIP Lender (in such capacity, the “New Money Dip
Lender’’), the roll-up DIP lenders from time to time party thereto (the “Rel/-Up DIP Lenders”, and together
with the New Bridge Lender and the New DIP Money Lender, the “Lenders”), Fifth Star, as administrative
agent (the “Administrative Agent”) and the Companies, as borrowers (in such capacity, the “Borrowers”’)
(as amended, restated, supplemented or otherwise modified from time to time, the “Credit Agreement’,
together with all documents, agreements and instruments delivered in connection with the Credit
Agreement, including the Credit Agreement and the Pledge and Security Agreement (as defined below) and
with all amendments, amendments and restatements, supplements, and modifications thereto, the “Lean
Documents”) and (ii) Pledge and Security Agreement, dated on or about December _, 2023, by and among
the Borrowers, as grantors, and the Administrative Agent (the “Pledge and Security Agreement’).
Capitalized terms used herein and not otherwise defined herein shall have the meanings assigned to such
terms in the Credit Agreement;

WHEREAS, in connection with and pursuant to, the Credit Agreement and the other Loan
Documents, the Companies have requested that the Lenders make available a secured credit facility,
pursuant to which (i) the New Money DIP Lender will provide a “new money” term loan facility in the
form of post-petition debtor-in-possession financing under Section 364 of the Bankruptcy Code in an
aggregate principal amount expected to be at least $6,000,000, subject to the terms set forth in the Credit
Agreement and the DIP Order (the “DIP Loan”) and (ii) certain of the Bridge Loans of each Roll-Up DIP
Lender (including the New Bridge Loan) will be deemed exchanged into post-petition term loans pursuant
to the terms set forth in the Credit Agreement (collectively, the “Financing’):

WHEREAS, each Governing Body has had an opportunity to review the terms of the Financing,
the Loan Documents and all of the other transactions contemplated thereby;

WHEREAS, each Governing Body has determined that the Financing and the Loan Documents
are in the best interests of the applicable Company, its stockholders and its creditors.

NOW, THEREFORE, BE IT:

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RESOLVED, that the Governing Bodies hereby ratify, authorize and approve the Financing
(including, subject to approval of the Bankruptcy Court, the New Money DIP Loans) in all respects,
including the incurrence of the indebtedness and the grant of the security interests in any and all of each
Company’s respective now owned and hereafter acquired Collateral (as defined in the Loan Documents);
and it is further

RESOLVED, that that the Governing Bodies hereby ratify, authorize and approve the execution
and delivery, by the Authorized Officers of each Company on behalf of such Company, of the Loan
Documents, together with any amendments or modifications thereto as any such officer may approve, and
the execution of such documents by such officer shall conclusively establish his or her authority to make
such changes and the approval and ratification by each Company, as applicable, of the changes so made.

Chapter 11 Filing

WHEREAS, the Governing Bodies of each Company have surveyed potential restructuring
options for the applicable Company and considered presentations by management and the advisors to such
Company regarding the assets, liabilities and short- and long-term liquidity situation of such Company, and
the impact of the foregoing on such Company’s business, prospects and enterprise value;

WHEREAS, the Governing Bodies of each Company had the opportunity to consult with and ask
questions of the management, the legal and financial advisors and other consultants to the applicable
Company, and has fully considered each of the strategic alternatives available to such Company; and

WHEREAS, in the judgment of the Governing Bodies, after consulting with the management,
legal and financial advisors of, and other consultants to, the Companies, it is desirable and in the best
interests of the Companies, their creditors, their equity holders and other parties in interest, that the
Companies each file or cause to be filed forthwith a voluntary petition for relief (such voluntary petition
commencing a “Chapter 11 Case”) under Chapter 11 of the United States Bankruptcy Code (Title 11 of
the United States Code) (the “Bankruptcy Code’’).

NOW, THEREFORE, BE IT:

RESOLVED, that the members of the Board have considered their fiduciary duties under
applicable law in exercising their powers and discharging their duties, to act honestly and in good faith with
a view to the best interests of the Company as a whole, to exercise the care, diligence, and skill that a
reasonably prudent person would exercise in comparable circumstances; and it is further

RESOLVED, that each Company shall be, and hereby is, authorized to file or cause to be filed
forthwith a Chapter 11 Case under the provisions of the Bankruptcy Code in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court’); and it is further

RESOLVED, that, to the extent not already appointed and currently serving as such pursuant to
separate resolutions or consents of each Company, the following individuals be, and hereby are, appointed
as an officer of each Company with the titles set forth next to his or her name below, to serve until his or
her successor(s) are duly elected and qualified:

Arkady Goldinstein Interim Chief Financial Officer
Managing Director of SRV Partners, LLC

RESOLVED, that John Pendleton, Lev Peker, Arkady Goldinstein, as Interim Chief Financial
Officer, and any other authorized officer (or their designees and delegates) of the applicable Company
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(collectively, the “Authorized Officers”), acting alone or with one or more other Authorized Officers be,
and hereby are, authorized, empowered and directed to execute and file on behalf of the applicable
Company all petitions, schedules, lists, motions, certificates, declarations, papers and documents, and to
take any and all action that any one or more deem necessary or proper to obtain such relief, including,
without limitation, any action necessary to maintain the ordinary course operation of such Company’s
business or to successfully prosecute the Chapter 11 Case; and it is further

RESOLVED, that the Authorized Officers are hereby authorized and instructed to make such
arrangements as they deem necessary or proper for the applicable Company to use existing “Cash
Collateral” as that term is defined in section 363(a) of the Bankruptcy Code, and that such Authorized
Officers are hereby authorized and instructed, on behalf of and in the name of such Company, to provide
certain adequate protection to Lind Global Fund II LP, as the prepetition secured lender, upon the terms set
forth in a proposed Cash Collateral Order to be submitted for approval to the Bankruptcy Court, and to
provide guaranties to and undertake any and all related financial transactions with the prepetition secured
lenders on such terms as may be approved by any one or more of the Authorized Officers, as reasonably
necessary for the continuing conduct of the affairs of the such Company; and it is further

Retention of Professionals

RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and directed
to employ the law firm of DLA Piper LLP (US) (“DLA Piper”), as general bankruptcy counsel to represent
and assist the applicable Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance such Company’s rights and obligations, including filing any motions, objections,
replies, applications or pleadings; and the Authorized Officers are hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers and to cause to be filed an appropriate
application for authority to retain the services of DLA Piper; and it is further

RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and directed
to employ the firm of Kroll Restructuring Administration LLC (“Kroll”), as notice and claims agent as well
as administrative, solicitation and balloting agent to represent and assist the applicable Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance such Company’s rights
and obligations; and in connection therewith, the Authorized Officers are hereby authorized and directed,
in the name of and on behalf of such Company, to execute appropriate retention agreements, pay appropriate
retainers and to cause to be filed appropriate applications for authority to retain the services of Kroll; and it
is further

RESOLVED, that each of the Authorized Officers be, and they hereby are, authorized and directed
to employ any other professionals that are reasonably necessary to assist the applicable Company in
carrying out its duties under the Bankruptcy Code and to advance such Company’s rights and obligations;
and in connection therewith, the Authorized Officers are hereby authorized and directed, in the name of
and on behalf of the applicable Company, to execute appropriate retention agreements, pay appropriate
retainers and to cause to be filed appropriate applications, to the extent necessary, for authority to retain the
services of any such additional professionals; and it is further

Debtor-in-Possession Financing

RESOLVED, that in connection with the commencement of Chapter 11 Cases by each Company,
as applicable, any Authorized Officer, acting on behalf of such Company for which such Authorized Officer
serves as an officer, shall be, and hereby is, authorized, directed, and empowered, in the name and on behalf
of such Company, as debtors and debtors in possession, to negotiate
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Approval under Section 144 of the DGCL

WHEREAS, Mr. Peker is a current member of the Board and PARTS Inc.’s Chief Executive
Officer and Mr. Rigaud is a current member of the Board (collectively, the “Interested Directors’):

WHEREAS, pursuant to Section 144 of the DGCL (“Section 144°), no contract or transaction
between PARTS Inc. and one or more of its directors or officers, or between PARTS Inc. and any other
corporation, partnership, association or other organization in which one or more of its directors or officers
is a director or officer of, or has a financial interest in (any such contract or transaction is referred to herein
as an “Interested Party Transaction’), shall be void or voidable solely for that reason, or solely because
the director or officer is present at or participates in the meeting of the Board which authorized the Interested
Party Transaction or solely because the vote of any such director is counted for such purpose, if: (i) the
material facts as to the director’s or officer’s relationship or interest and as to the contract are disclosed or
known to the Board, and the Board in good faith authorizes the contract or transaction by affirmative votes
of a majority of the disinterested directors, even though the disinterested directors be less than a quorum,
(ii) the material facts as to the director’s or officer’s relationship or interest as to the contract or transactions
are disclosed or are known to the stockholders entitled to vote thereon, and the contract or transaction is
specifically approved in good faith by the vote of the stockholders or (iii) the contract or transaction is fair
as to PARTS Inc. as of the time it is authorized, approved or ratified by the Board or the stockholders; and

WHEREAS, the Interested Directors have a financial interest, directly or indirectly, in the
Financing, the Loan Documents and such transactions contemplated thereby are collectively, an “Interested
Party Transaction”.

NOW, THEREFORE, BEIT:

RESOLVED, that the Board hereby acknowledges that (a) all material facts as to the director’s
relationships or interests as to the transactions set forth in the preceding resolutions have been disclosed
and are known to the Board and (b) PARTS Inc. has negotiated the terms and conditions of the Financing
and the Loan Documents in an arms-length transaction involving a third party; and it is further

RESOLVED, that the Board in good faith deems the Financing and the Loan Documents, and
any arrangements entered into in connection therewith, in each case as may be amended, supplemented or
modified from time to time in accordance with its terms, to be fair, just and reasonable and in the best
interests of PARTS Inc. and its stockholders; and it is further

RESOLVED, that the Financing and the Loan Documents and arrangements entered into in
connection therewith, as may be amended, supplemented, or modified from time to time in accordance with
its terms and any direct or indirect participation of the Interested Directors are hereby authorized, approved
and ratified for all purposes, including for purposes of each provision and subsection of Section 144.

General Authority

RESOLVED, that the Authorized Officers of each Company be, and each of them hereby is,
authorized, directed and empowered, in the name and on behalf of such Company, or otherwise, (a) to
execute, deliver and perform all such instruments, documents and certificates, including all required filings
with the SEC and applications with the NYSE American, (b) to execute any and all certificates, financing
statements, including, without limitation, UCC-1 financing statements in favor of the Administrative Agent,
and any other documents in connection therewith, (c) to take all such further and other action in connection
with the resolutions hereinabove adopted as they may deem necessary, advisable, or proper to effectuate
the intent and accomplish the purposes of the foregoing resolutions and (d)to incur all such fees and
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expenses as any such Authorized Officer deems to be necessary, appropriate or advisable to carry out the
purposes of the foregoing resolutions and the transactions contemplated thereunder and/or to successfully
complete the Chapter 11 Case, the taking of any such action or execution of any such documents and/or
agreements to constitute conclusive evidence and the exercise of such discretionary authority; and it is
further; and it is further

RESOLVED, that the omission from these resolutions of any agreement or other arrangement
contemplated by any of the agreements or instruments described in the foregoing resolutions or any action
to be taken in accordance with any requirements of any of the agreements or instruments described in the
foregoing resolutions shall in no manner derogate from the authority of the Authorized Officers to take all
actions necessary, desirable, advisable or appropriate to consummate, effectuate, carry out or further the
transactions contemplated by and the intent and purposes of the foregoing resolutions; and it is further

RESOLVED, that the Governing Bodies of each Company have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of such Company, or hereby waive any right to have received
such notice; and it is further

RESOLVED, that the Member is hereby authorized, empowered and directed from time to time to
enter into, execute, deliver and perform the obligations of PARTS LLC under, in the name and on behalf of
PARTS LLC, certificates and other deliverables related to the Financing or the Loan Documents; and it is
further

RESOLVED, that the Governing Bodies hereby ratify and confirm any and all acts heretofore
taken in connection with the foregoing resolutions by the Authorized Officers of each Company in good
faith in their capacities as such officers as the valid and binding acts of such Company duly approved by
the Governing Bodies.
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MIAME UNIC@)AAGE= eA CON (C= 1N1 a= Mer= ote

Debtor Name: PARTS iD, Inc.

United States Bankruptcy Court for the: District of Delaware (1 Check if this is an amended filing

Case number (if known):

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders 12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

Name of creditor and Name, telephone number and Nature of Indicate if _ Amountofclaim
complete mailing address, email address of creditor | (,., scam ' claim is If the claim is fully unsecured, fill in
including zip code contact PI’ | contingent, | Only unsecured claim amount. If claim
trade debts, | unliquidated | is partially secured, fill in total claim
bank loans, | or disputed | amount and deduction for value of
professional collateral or setoff to calculate
services, and unsecured claim.
overnment :
g Total Deduction Unsecured
contracts) wo ;
claim, if for value of claim
partially collateral
secured or setoff
‘1
TURN 14 DISTRIBUTION TURN 14 DISTRIBUTION
Attn: Jon Pulli Tel:
100 TOURNAMENT DRIVE, Email; jpulli@turn14.com TRADE CLAIM $2,679,290
SUITE 100
HORSHAM, PA 19044
2
GOOGLE GOOGLE
DEPARTMENT # 33654 Email:google-collections- TRADE CLAIM $2,537,001
PO BOX 39000 delbosque@google.com
SAN FRANCISCO ,CA 94139
3
|AMERICAN TIRE DIST (ATD)
|ATTN: MARK LEVINE
M T T
12200 HERBERT WAYNE COURT, PAR eather os aD) TRADE CLAIM $2,497,238
. 2!
SUITE 150 butler @ google.com
HUNTERSVILLE, NC 28078
A lane MENT
[AMERICAN EXPRESS PAYMEN AMERICAN EXPRESS PAYMENT
ATTN: JUDY BISGARD EMAIL: judy.a.bisgard@aexp.com TRADE CLAIM 92,246,369
18850 N 56TH ST * CY .8 DISRer em aexp.c
PHOENIX, AZ 85050
5
KEYSTONE AUTOMOTIVE
ATTN: BILL ROGERS KEYSTONE AUTOMOTIVE RADE CLAIM $2,015,388
44 TUNKHANNOCK AVE EMAIL: brogers@Ikqcorp.com
EXETER, PA 18643
6
FACTORY MOTOR PARTS
ATTN: MIKE MCGURRAN FACTORY MOTOR PARTS
2782 EAGANDALE BLVD EMAIL: m.mcgurran@fmpco.com TRADE CLAIM $1,873,016
EAGAN, MN 55121

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims page 1
Case 23-12098-LSS Doc1 Filed 12/26/23 Page 14 of 19

Debtor PARTS iD, Inc.

Case number (if known)

Name
Name of creditor and Name, telephone number and Nature of Indicate if _ Amountofclaim
complete mailing address, email address of creditor (for exam le claim is If the claim is fully unsecured, fill in
including zip code contact Pl’; | contingent, | Only unsecured claim amount. If claim
trade debts, | unliquidated | is partially secured, fill in total claim
bank loans, | or disputed | amount and deduction for value of
professional collateral or setoff to calculate
services, and unsecured claim.
overnment :
g Total Deduction Unsecured
contracts) :
claim, if for value of claim
partially collateral
secured or setoff
7 |COAST 2 COAST
NATIONAL ACCOUNTS, AR COAST 2 COAST $1,591,124
DEPARTMENT EMAIL: brogers@lkqcorp.com TRADE CLAIM mu
5846 CROSSINGS BLVD.
ANTIOCH, TN 37013
8
PARTS AUTHORITY
LOCKBOX 744895
6000 FELDWOOD ROAD Mall schneider @ artsauthority.com |/RADE CLAIM 91,337,641
COLLEGE PARK, GA *Ischneider @partsauthority.c
30349
9
DNA MOTORING
801 SENTOUS AVE EMAIL: james@dnamotoring.com TRADE CLAIM $880,525.84
CITY OF INDUSTRY, CA 91748
10 |poweR STOP
|ATTENTION: KATHRYN ACOSTA PAIL. bomen @powerstop.com
6112 W. 73RD ST., , pe P. TRADE CLAIM $782,321
SUITE B
BEDFORD PARK, IL 60638
ps FRED BEANS PARTS, INC
FRED BEANS PARTS, INC. EMAIL: hvanhouten@fredbeans com $695,228
131 DOYLE STREET , , TRADE CLAIM ’
DOYLESTOWN, PA 18901
p2 NTP DISTRIBUTION
T| T|
LOCKBOX NUMBER 417450 alt: brogerstotk orp.com RADE CLAIM $652,099
l44 TUNKHANNOCK AVENUE *DrOBers QUKACOTP.C
EXETER, PA 18643
13
AUTO PLUS AUTO PARTS
ATTN: DANIEL JONES AUTO PLUS AUTO PARTS $547,273
PO BOX 414579 EMAIL: djones@rcemn.com TRADE CLAIM
BOSTON, MA 02241
14
MOTOR STATE DISTRIBUTOR
ATTN: DARREN LANE MOTOR STATE DISTRIBUTOR
\8300 LANE DRIVE EMAIL: darrenlane@motorstate.com TRADE CLAIM $537,049
WATERVLIET, MI 49098
15 L
Morne RicraNtavLor TRISTATE ENTERPRISES
5412 S. 24TH STREET EMAIL: tristan@etristate.com TRADE CLAIM $516,301
FORT SMITH, AR 72901
16
YAHOO
|ATTN: MARY DIEDRICH YAHOO
6100 NEIL ROAD, STE 100 EMAIL: marydiedrich@microsoft.com TRADE CLAIM $508,953
RENO, NV 89511
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims page 2

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Debtor PARTS iD, Inc.

Case number (if known)

Name
Name of creditor and Name, telephone number and Nature of Indicate if _ Amountofclaim
complete mailing address, email address of creditor f cam claim is If the claim is fully unsecured, fill in
including zip code contact (forexample, | contingent, | only unsecured claim amount. If claim
trade debts, | unliquidated | is partially secured, fill in total claim
bank loans, | or disputed | amount and deduction for value of
professional collateral or setoff to calculate
services, and unsecured claim.
overnment :
contracts) Total Deduction Unsecured
claim, if for value of claim
partially collateral
secured or setoff
‘17
FAEGRE DRINKER BIDDLE & REATH LLP
ATTN: JONATHAN R. ZIMMERMAN a DRINKER BIDDLE & REATH LLP. oe ceESIQNAL $495,165
600 CAMPUS DR, jon zimmerman@fae redrinker.com SERVICES ‘
FLORHAM PARK, NJ 07932 8
18
Lo oop wero INC. ENTERPRISE ROBERT THIBERT INC.
EMAIL: bobhazard@rtxwheels. TRADE CLAIM 473,225
90 TRADE ZONE COURT obhazard @rtxwheels.com >
RONKONKOMA, NY 11779
19
TONSA EPIC
ATTN: LEON BOBELIAN TONSA EPIC
30 SEAVIEW BLVD EMAIL: leon@tonsa.com TRADE CLAIM $455,350
PORT WASHINGTON, NY 11050
20 |SHERIDAN ROSS PC
ATTN: AARON BRADFORD SHERIDAN ROSS PC
2701 LAWRENCE STREET, EMAIL: abradford@sheridanross.com [TRADE CLAIM $402,846
SUITE 104
DENVER, CO 80205
21
ISTEELCRAFT
|ATTN: RICK SANCHEZ STEELCRAFT
2120 CALIFORNIA AVE EMAIL: rick@steelcraftautomotive.com TRADE CLAIM #390,540
CORONA, CA 92881
22
hewnesonin Clare INC LAND N SEA DISTRIBUTING INC
EMAIL: johnclarke@b ick. TRADE CLAIM 366,529
3131 N. ANDREWS AVE. EXT Johnelarke @brunswick.com °
POMPANO BEACH, FL 33064
23
EXTREME DIMENSIONS
ATTN: PAULJUSTIN SHARP EXTREME DIMENSIONS
1920 WEST MALVERN AVE EMAIL: justin@extremedimensions.com TRADE CLAIM $365,452
FULLERTON, CA 92833
24
WESTIN AUTOMOTIVE
ATTN: Robert West WESTIN AUTOMOTIVE
PO BOX 844434 EMAIL: RWest@westinautomotive.com || RADE CLAIM 7352,421
LOS ANGELES, CA 90084
25 7
hoe heer eOLLINe. UNITY AUTOMOTIVE
5600 HIGH RIDGE ROAD EMAIL: jeff@unity.com TRADE CLAIM $302,445
BOYNTON BEACH, FL 33426
26
ZIMMER LOGISTICS CONSULTING LLC
416 SOUTH HILL AVE. EMAIL. frank@simencrlogistics com TRADE CLAIM $295,396
INEW BRAUNFELS, TX 78130 istics
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims page 3

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Debtor PARTS iD, Inc.

Case number (if known)

Name
Name of creditor and Name, telephone number and Nature of Indicate if _ Amountofclaim
complete mailing address, email address of creditor f cam claim is If the claim is fully unsecured, fill in
including zip code contact (for example, contingent, only unsecured claim amount. If claim
trade debts, | unliquidated | is partially secured, fill in total claim
bank loans, | or disputed | amount and deduction for value of
professional collateral or setoff to calculate
services, and unsecured claim.
overnment :
contracts) Total Deduction Unsecured
claim, if for value of claim
partially collateral
secured orsetoff
27
CURT MANUFACTURING
|ATTN: LORI GRANT CURT MANUFACTURING
PO BOX 88006 EMAIL: lori.grant@curtgroup.com TRADE CLAIM $285,467
MILWAUKEE, WI 53288
28
GRIFFIN PARTS TEL: (262) 542-8058
1940 E. MAIN ST EMAIL: drenteria@eriffinparts.com RADE CLAIM $283,875
WAUKESHA, WI 53186 * Grentena@eniinparts.c
29 | IRCORE
AIRCORE
|ATTN: STEVE PARKER .
100 ROSE AVENUE EMAIL: sparker@aircore.com TRADE CLAIM $264,214
HEMPSTEAD, NY 11550
30 |HOLLEY PERFORMANCE PRODUCTS
|ATTN: SCOTT MCLAUGHLIN
y
4100 W. 150TH STREET ot scothnclvehtin@rolley.cam TRADE CLAIM $263,381
CLEVELAND, OH 44135 8 ¥-

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims

page 4

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MMe m eC A UT Meet E- Litem UCM Lire

Debtor Name PARTS iD, Inc.

United States Bankruptcy Court for the: District of DE
(State)

Case number (if known):

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

B® © COCOccoo

Other document that requires a declaration Corporate Ownership Statement; List of Equity Security Holders

| declare under penalty of perjury that the foregoing is true and correct.

x

MM / DB YYYY Signature of individual signing on behalf of debtor

Executed on

Lev Peker
Printed name

Chief Executive Officer

Pasition or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 23-12098-LSS Doc1 Filed 12/26/23 Page 18 of 19

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:

PARTS iD, Inc.,

Debtor.

Chapter 11

Case No. 23- ( )

CORPORATE OWNERSHIP STATEMENT

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, the undersigned

authorized officer of PARTS iD, Inc., the above-captioned debtor, hereby certifies that the

following corporate entities, other than a government unit, own the specified percentage of PARTS

iD, Inc.’s equity interests, as of the date hereof:

Entity Percentage Interest
Onyx Enterprises Canada Inc. 33%
Cede & Co 47%

Case 23-12098-LSS Doc1 Filed 12/26/23 Page 19 of 19

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

PARTS iD, Inc., Case No. 23- ( )

Debtor.

LIST OF EQUITY SECURITY HOLDERS

Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(3) of the Federal Rules of

Bankruptcy Procedure, PARTS iD, Inc. hereby provides the following list of holders of equity

interests. !

Name and Address of Interest Holder Percentage Interest

Cede & Co
570 Washington Blvd 47%
Jersey City, NJ 07310
Onyx Enterprises Canada Inc.
2 Bloor Street W., Suite 2006 33%
Toronto, Ontario, Canada M4W 3E2
Stanislav Royzenshteyn
P.O Box 175, Wickatunk, NJ 07765 14%

I The Debtors are requesting to limit their compliance with Rule 1007(a)(3) of the Federal Rules of Bankruptcy
Procedure by disclosing only those equity security holders that hold 5% or more of common shares in PARTS iD, Inc.
See Motion of the Debtors for Entry of an Order Authorizing the Debtors to (I) Redact or Withheld Publication of
Certain Personal Identification Information and (I) Limiting Certain Equity Security Holdings Disclosures.

ACTIVE\20087 1458.1
